August 28, 2020

Via ECF

Honorable Jesse M. Furman
United States District Judge
United States District Court
Southern District of New York
40 Centre Street, Room 2202
New York, New York 10007

Re:       State of New York v. Wolf, 20 Civ. 1127, and Lewis-McCoy v. Wolf, 20 Civ. 1142


Dear Judge Furman:

Pursuant to Rule 1.E. of the Court’s Individual Rules and Practices in Civil Cases, and with
Defendants’ consent, Plaintiffs in these actions jointly request a two-week extension on the
briefing schedule associated with Plaintiffs’ anticipated motion for attorney’s fees. 1 This is
Plaintiffs’ first such request.

On July 29, 2020, the Court ordered that, on August 10, 2020, the parties file a joint letter
proposing a briefing schedule for a fees motion; by August 12, 2020, Defendants file a report
concerning their inaccurate or misleading statements in this litigation; and by August 19, 2020,
Plaintiffs may file a letter response to the report. See ECF No. 92. 2 On August 10, 2020, the
Court adopted the parties’ proposed fees motion briefing schedule, with Plaintiffs’ motion due on
August 31, Defendants’ opposition due on September 10, 2020, and Plaintiffs’ reply due on
September 17, 2020. See ECF No. 98.

Subsequently, Defendants’ sought, and the Court granted, an extension until September 4 of their
time to file the report and declarations required by the Court’s July 29 order. See ECF Nos. 100,
103. (The Court’s order granting this extension did not set a new deadline for Plaintiffs to file a
letter in response to Defendants’ report; unless ordered otherwise, Plaintiffs will file any such
response by September 11, 2020, consistent with the seven-day response deadline included in the
Court’s July 29 order.) Because Defendants’ report and declarations may bear on the content of
Plaintiffs’ fees motion, Plaintiffs respectfully request that the briefing schedule associated with
that motion be extended as follows:

      •   On September 14, 2020, Plaintiffs shall file their motion for attorney’s fees;
      •   On September 24, 2020, Defendants shall file their opposition; and
      •   On October 1, 2020, Plaintiffs shall file their reply.




1   The parties’ joint letter concerning the status of their settlement negotiations is forthcoming.
2   All docket citations in this letter refer to the docket in State of New York v. Wolf, 20 Civ. 1127.
Plaintiffs anticipate this brief extension will afford them necessary time to consider the
implications of Defendants’ report for Plaintiffs’ fees motion.

We thank the Court for its consideration of this request and would be happy to address any
questions or concerns the Court may have.

Respectfully submitted,


NEW YORK CIVIL LIBERTIES UNION FOUNDATION

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